MEL

@JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. Investigating Agency US DOL
City Boston Related Case Information:
County Suffolk Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

 

 

 

Defendant Information:

 

 

 

 

 

 

Defendant Name Richard C. Quinn Juvenile: [ | Yes No
Is this person an attorney and/or a member of any state/federal bar: [ | Yes No

Alias Name

Address (City & State) Sterling, Massachusetts

Birth date (Yr only): 1963 SSN (last4#) , 2197 Sex M__ Race: Nationality:

Defense Counsel if known: Benjamin Wish/Howard Cooper Address One Federal Street

Bar Number 672743 / 543842 Boston, MA 02110

U.S. Attorney Information:

 

 

 

AUSA — _Mark Grady Bar Number if applicable
Interpreter: [ | Yes No List language and/or dialect:
Victims: [V]Yes [No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [ | Yes No
Matter to be SEALED: [] Yes No
[Warrant Requested Regular Process [| In Custody

Location Status:

 

 

 

 

 

 

Arrest Date

[_ ]Already in Federal Custody as of in

[_ ]Already in State Custody at [_ |Serving Sentence [Awaiting Trial
[Jon Pretrial Release: | Ordered by: on

Charging Document: []complaint [V]Information [| Indictment

Total # of Counts: [_ |Petty ——— [_]Misdemeanor —=— [AFetony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: oJ Six ( Signature of AUSA: le
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JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Richard C. Quinn

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set 1 18 U.S.C. §1027 and 2 Making false statements to an ERISA plan

Set 2

Count Numbers

 

 

Set 3

 

 

Set 4

 

 

Set 5

 

 

Set 6

 

 

Set 7

 

 

Set 8

 

 

Set 9

 

 

Set 10

 

 

Set 11

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION:

 

 

 

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
